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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO



 BERKEY INTERNATIONAL, LLC,                            Civil No. 3:24-cv-01106-CVR

                Plaintiff,
        v.

 ENVIRONMENTAL PROTECTION
 AGENCY, et al.

                Defendants.




                   CERTIFICATION OF ADMINISTRATIVE RECORD




       I, David Cobb, am the Section Supervisor of the Toxics and Pesticides Enforcement

Section, Enforcement, and Compliance Assurance Division at the Region 8 office of the United

States Environmental Protection Agency. In that capacity, I am responsible for managing

regional enforcement activities related to the Toxic Substance Control Act, the Clean Air Act

Section 112(r), the Emergency Planning and Community Right-to-Know Act and the Federal

Insecticide, Fungicide, and Rodenticide Act (FIFRA) including reviewing and approving FIFRA

Stop Sale, Use or Removal Orders (SSUROs).

       I certify, to the best of my knowledge and belief, that the attached index lists the

documents, as provided to me by EPA staff, that comprise the administrative record for the

SSURO issued to Berkey International LLC, Docket No. FIFRA-08-2023-0038, May 8, 2023,

issued pursuant to FIFRA section 13(a), 7 U.S.C. § 136k(a).
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       The administrative record includes, to the best of my knowledge, the documents that

were directly or indirectly considered by me and the EPA enforcement staff when issuing the

SSUROs listed above.

       Pursuant to 28 U.S.C. S 1746, I hereby declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge, information, and belief.



Executed this 17th day of April, 2024.


       DAVID          Digitally signed by
                      DAVID COBB

 By:   COBB           Date: 2024.04.17
       ____________________________________________________
                      15:27:16 -06'00'
       David Cobb, Section Supervisor
       Toxics and Pesticides Enforcement Section
       Enforcement and Compliance Assurance Division
